

Matter of Chaudhary (2020 NY Slip Op 04365)





Matter of Chaudhary


2020 NY Slip Op 04365


Decided on July 30, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 30, 2020

PM-97-20

[*1]In the Matter of Sabahat Chaudhary, an Attorney. (Attorney Registration No. 4484770.)

Calendar Date: July 20, 2020

Before: Egan Jr., J.P., Lynch, Clark, Mulvey and Pritzker, JJ.


Sabahat Chaudhary, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Sabahat Chaudhary was admitted to practice by this Court in 2007 and lists a business address in Washington, DC with the Office of Court Administration. Chaudhary now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Chaudhary's application.
Upon reading Chaudhary's affidavit sworn to May 16, 2020 and filed June 1, 2020, and upon reading the July 2, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Chaudhary is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Lynch, Clark, Mulvey and Pritzker, JJ., concur.
ORDERED that Sabahat Chaudhary's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Sabahat Chaudhary's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Sabahat Chaudhary is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Chaudhary is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Sabahat Chaudhary shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








